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            UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF GEORGIA
                   DUBLIN DIVISION




       CHANGE OF PLEA IN USA v. DAViD harrell

       CRIMINAL NO. 3:21CR0002     AUGUSTA,GEORGIA   \        v       'Jv >




                 WITH CONSENT OF THE COURT,THE

           DEFENDANT         DAVID harrell         ,HAVING

        PREVIOUSLY ENTERED A PLEA OF not guilty                   ^

        HEREBY WITHDRAWS THAT PLEA AND ENTERS A PLEA

        OF guilty            xO count eleven(11)

        IN THE INDICTMENT.



                    THIS    DAY OF                       , 2022.




                                                AVID HARRELL, DEF^I^ANT



                                                COUNSEL FOR DEFENDANT
                                                             TROY W. MARSH,JR.
